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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                  LOUISVILLE DIVISION

  LIVE NATION WORLDWIDE, INC.,               )
                                             )
                Plaintiff,                   )
                                             )
  v.                                         )
                                             )   Case No. 3:17-cv-00216-CRS
  SECURA INSURANCE; CITY                     )
  SECURITIES INSURANCE, LLC; and             )
  ESG SECURITY,                              )
                                             )
                Defendants.                  )


             PLAINTIFF’S CROSS-MOTION FOR SUMMARY JUDGMENT
              ON COVERAGE CLAIM AGAINST SECURA INSURANCE


        Pursuant to Federal Rule of Civil Procedure 56, Plaintiff Live Nation Worldwide, Inc.

 (“Live Nation”) hereby submits this Cross-Motion for Summary Judgment on Coverage Claim

 Against Secura Insurance. Live Nation relies on its Response to Secura’s Motion for Summary

 Judgment as its grounds for its cross-motion. For those reasons set forth in Live Nation’s

 Response, Live Nation requests that the Court enter summary judgment in favor of Live Nation.
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                                 Respectfully submitted,

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                                 CERTIFICATE OF SERVICE


         I hereby certify that on the 22nd day of January, 2018, a copy of the foregoing was served
 via the Court’s ECF system, which will send electronic notice to the following:

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